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ee
FROM: Eric T. Armel  -

. Superintendent

TO:

DATE: 6/20/22

SUBJECT: STGMU Appeal

| have reviewed your STGMU appeal and all information surrounding your current housing
status. | find based upon my review that you are appropriately housed at this time. Specific
questions regarding your placement and associated privileges can be directed to your Unit Team
or PRC. It is noted that you refused to attend PRC on 5/12/22. This appeal is therefore denied.

cc:  Deputies/PRC
’ Counselor — Mr. Cook
Unit Manager — Mr. Riddle
File

SCI Fayette | 50 Overlock Drive, LaBelle, PA 15450 | 724-364-2200 | WWwwW.cor.pa.gov
